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                                                                                                      CASREF,PROSE,SA5
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                                        U.S. District Court
                           Eastern District of TEXAS [LIVE] (Beaumont)
                      CIVIL DOCKET FOR CASE #: 1:21−cv−00477−MAC−ZJH

Dingman v. State Of Texas                                                  Date Filed: 09/16/2021
Assigned to: District Judge Marcia A. Crone                                Jury Demand: None
Referred to: Magistrate Judge Zack Hawthorn                                Nature of Suit: 540 Mandamus & Other
Cause: 28:1331 Fed. Question                                               Jurisdiction: Federal Question
Petitioner
Dr. James Warner Dingman                                    represented by James Warner Dingman
                                                                           1392494
                                                                           HIGHTOWER UNIT
                                                                           902 FM 686
                                                                           Dayton, TX 77535
                                                                           PRO SE


V.
Respondent
State Of Texas


 Date Filed       #    Docket Text

 09/16/2021      Ï1    COMPLAINT (Omnibus Motion) requesting a Writ of Mandamus, against State Of Texas, filed by
                       James Warner Dingman.(kcv, ) (Entered: 09/17/2021)

 09/16/2021      Ï     CASE REFERRED to Magistrate Judge Zack Hawthorn. (kcv, ) (Entered: 09/17/2021)

 09/30/2021      Ï2    MEMORANDUM OPINION REGARDING VENUE. Signed by Magistrate Judge Zack Hawthorn
                       on 9/30/21. (kcv, ) (Entered: 09/30/2021)

 09/30/2021      Ï3    ORDER OF TRANSFER. It is ordered that the Clerk of Court shall transfer this action to the Clerk
                       of the United States District Court for the Southern District of Texas, Houston Division. Signed by
                       Magistrate Judge Zack Hawthorn on 9/30/21. (kcv, ) (Entered: 09/30/2021)

 10/08/2021      Ï4    ACKNOWLEDGMENT OF RECEIPT by James Warner Dingman on 10/5/21 as to 3 Order, 2
                       Memorandum & Opinion. (kcv, ) (Entered: 10/08/2021)
